                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

IN RE:                                                    )
                                                          )             Case No. 3:15-9031
CAPSTONE PEDIATRICS, PLLC,                                )             Chapter 11
                                                          )             Judge Randal S. Mashburn
         Debtor.                                          )

                    CAPSTONE PEDIATRICS, PLLC - COMPANY PROFILE

         Capstone Pediatrics, PLLC (the “Debtor”) files this statement of its company profile1 in

support of motions to be filed in this case, to expressly include the “first day” motions filed

contemporaneously herewith. To avoid unnecessarily lengthy motions that recite the Debtor’s

profile and background, the Debtor intends to reference and incorporate this Notice of Filing

Company Profile in current and future motions.

                              I.       Summary of Basis for Chapter 11 Filing

         On October 31, 2013, the Debtor acquired the assets of a pediatric practice that was being

dissolved after its owner was investigated (and later indicted and convicted) of health care fraud.

Based on its due diligence, the Debtor believed it paid fair market value for the assets it received

in exchange. Unfortunately, upon acquisition, the Debtor realized that it paid too much for

receiving too little. And what it did receive was fraught with compliance issues, IT issues,

manpower issues, and oppressive contracts (to specifically include leases) with rental rates in

excess of fair market value. The Debtor has also engaged in a vaccine purchase program that

resulted in overpaying for its vaccines. In addition, the Debtor has concluded that although it

would prefer to operate in twelve locations throughout Middle Tennessee, the profitability and


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  The Debtor expressly reserves its right to supplement and amend this profile. It is based on information available
to counsel at the time of filing. The filing in this case was expedited based on the prospective termination of
services provided by Athenahealth. Due to the emergency nature of this filing, the Debtor intends to provide
additional information to its creditors throughout the reorganization process.



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sustainability of the Debtor require it to reduce its number of operating locations. This is

expected to result in reduced revenue, but it the accompanying reduction in expenses will make

the Debtor a financially stronger and more viable business.

       The Debtor has been working for a number of months to streamline its operations and

prepare for a restructuring. The Debtor had defaulted on certain leases and attempted to modify

the lease terms. Its lease rates currently comprise approximately 18% of its net revenue. The

Debtor intends to reduce this number to an amount that is comparable within the industry. In

addition, the Debtor could not timely pay various venders. The arrearages could not be cured,

and working out resolutions with the Debtor’s creditors could not be accomplished through and

out-of-court restructuring.

       Most importantly, the timing of the Chapter 11 was dictated by software service provider

Athenahealth. Athenahealth provides integrated health care solutions in the health care industry.

This includes providing electronic health records, medical billing, patient engagement, order

transmission, revenue cycle management, and patient access and care coordination.

Athenahealth has been recognized as a leader in software practice management, and is absolutely

vital to the Debtor’s operations. Without Athenahealth’s services, patient care would stop and

the Debtor could not operate. In this case, the Debtor does not dispute that it owes Athenahealth

approximately $350,000 in past due billings (which equates to roughly 3-4 months of service).

The Debtor desired to renegotiate its terms and fold the arrearage into a new contract with

Athenathealth. These negotiations were unsuccessful, and the Debtor received notice that on or

about December 23, 2015, Athenahealth would terminate its service. This would have resulted

in catastrophic, and unrecoverable financial damage to the Debtor. Filing the Chapter 11 was




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necessary to preserve the Debtor as a going concern, to maximize the value of the Debtor’s

bankruptcy estate, and to provide as much of a return as possible to the Debtor’s creditors.

                          II.     Overview of Capstone Pediatrics, PLLC

        The Debtor is one of the largest independent privately held pediatric practices in the

Middle Tennessee region. Its mission to deliver personalized, quality care to improve and

maintain its patients’ health and wellbeing. The Debtor employs 25 board certified pediatricians

and 25 certified nurse practitioners, and has between 40,000 and 50,000 patients. In 2014, it

experienced gross revenues of $24,858,435, and patient visits of approximately 144,000.

        A.     Medical Practice.

        The Debtor’s medical practice is primarily comprised of general pediatrics and other

specialties.

               1.      General Pediatrics.

        The Debtor is comprised of a general pediatric group that includes board certified

pediatricians and certified pediatric nurse practitioners. In addition, the Debtor offers a pediatric

hospitalist program with two physician hospitalists and two pediatric nurse practitioner

hospitalists. The Debtor’s long-term goal is to transform the general pediatric program into a

100% office-based general pediatric practice that is supplemented by a vigorous hospitalist-

based program to take care of the Debtor’s hospitalized patients.

               2.      Specialties.

        The Debtor offers specialists in the areas of Developmental-Behavioral Pediatrics,

Audiology-Diagnostics, Behavioral Health, and Hospitalist services.

                          i.    Developmental-Behavioral Pediatrics.




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       The Debtor’s behavioral-developmental specialists care for children with developmental

difficulties and behavioral changes. The Debtor evaluates each individual patient to determine

his/her needs related to the following areas: Attention Deficit Disorder, Attention Deficit

Hyperactivity Disorder, cognitive and social developmental delays, Autism, depression and

anxiety, learning disorders, delayed speech and language, habit disorders, regulatory disorders

pertaining to sleep, or feeding problems, and other behavioral and development problems.

                        ii.    Audiology.

       The Debtor offers outpatient diagnostic audiology services. This program meets the needs

of newborns who have failed their initial hearing screens, children with neurodevelopmental

disorders with concurrent hearing problems, and any child with a suspected hearing loss. The

Debtor uses state-of-the-art technology to test and treat children with hearing loss. The Debtor

works closely with the family, primary care provider, and other professionals to identify and

coordinate an individualized treatment plan.

                        iii.   Hospitalist Services. When an unexpected illness or injury requires

hospitalization, the Debtor coordinates the patient’s care during periods of hospitalization. The

Debtor’s hospitalists work only in a hospital setting to best coordinate care between the patient’s

primary pediatrician and other specialists. The Debtor provides hospitalist services for all

patients admitted to the following facilities: TriStar Children’s Hospital, St. Thomas Hospital –

Midtown, and Vanderbilt Children’s Hospital.

       B.      Locations.

       The Debtor currently has, or immediately prior to the filing of Chapter 11 had, locations

in the Middle Tennessee area at the following locations: (i) Clarksville, (ii) Madison (Skyline),

(iii) Nashville Midtown (Centennial Park), (iv) Antioch (Southern Hills), (v) Brentwood, (vi)



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Nashville (25th Avenue), (vii) Murfreesboro, (viii) Smyrna, (ix) Lebanon, (xi) Franklin, and (xii)

Nolensville Concord Road. Some of these locations have not been profitable since current

ownership acquired the Debtor. In connection with its reorganization, the Debtor accordingly

intends to reduce the number of its locations so that it will be a sustainable, profitable healthcare

provider into the future.

       C.      Payers.

       Capstone Pediatrics currently has contracts with Commercial, Tricare, and TennCare

(Medicaid) payers, and expects to continue receiving payments from AIG, Aetna, Amerigroup,

Blue Cross Blue Shield, Champus/Tricare, Cigna, Community Health Alliance, Humana, self-

payers, United Healthcare, and United Medical Resources. This list is not exclusive. As of the

petition date, the Debtor’s accounts receivable total approximately $2.7 million, with over half of

such receivables being within 31-day terms.

       D.      Partnerships.

       The Debtor has two noteworthy partnerships with TriStar (Division of HCA) and

Centerstone.

                            i.   TriStar.

       The Debtor has developed a relationship with the TriStar group of hospitals. The Debtor

and TriStar have engaged in monthly meetings with TriStar and shared strategic planning efforts.

One of the future efforts includes after-hours care by TriStar doctors embedded within several of

the Debtor’s sites. In addition, a program will be developed to enable the Debtor’s providers to

more conveniently utilize TriStar specialists by locating them in areas geographically close to

our outlying sites.




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                             ii.     Centerstone.

         The Debtor has established a partnership with Centerstone, a national provider of

behavioral health care. The Debtor is a part of a SAMSHA grant targeting at risk 0-4 year old

children. The Debtor’s long-term goal is to embed licensed mental health providers in every site

to enable easy access to mental health services at the site level.

                              III.     Background on Acquisition of the Debtor

         The Debtor acquired the assets of Centennial Pediatrics, PC (“Centennial”)2 on October

31, 2013 in exchange for approximately $6 million. At the time of acquisition, Centennial

Pediatrics operated in 11 sites: Brentwood (1); Davidson County (4 offices); Clarksville (1);

Wilson County (2); Rutherford County (2); Spring Hill (1). There were approximately 50

practitioners (35 physicians and 15 nurse practitioners/physician assistants). Based on

Centennial’s books and records, Centennial was profitable for the three years prior to acquisition

(2010, 2011, and 2012). In addition, Centennial was trending toward profitability for 2013. The

ending income statement for the Debtor for 2013 (thru October 2013) was $17.8 million in

revenue and net income of $2.3 million.

         The acquisition occurred in the midst of a federal fraud investigation into the conduct of

Dr. Edward Hamilton, the former owner of Centennial and prominent Nashville pediatrician.

The investigation by the Department of Justice revealed findings that Dr. Hamilton used

Centennial, for a five-year period from 2007 to 2012, to “upcode” billings for infant auditory

screening exams to TennCare and commercial insurance programs. Specifically, Dr. Hamilton

billed for comprehensive exams when only less expensive auditory screenings were performed.


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  The Debtor identified on its petition that it is also known as Centennial. This “aka” designation is not intended to
suggest that the Debtor is a successor-in-interest to Centennial. To the contrary, the Debtor acquired only the assets,
and not the liabilities, of Centennial. However, based on Centennial being in business for over 20 years, certain
individuals or entities within the marketplace still incorrectly refer to the Debtor as Centennial.

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Dr. Hamilton further “upcoded” billings related to urinalysis screenings. As a result of his

misconduct, Dr. Hamilton pled guilty to health care fraud under the False Claims Act. Dr.

Hamilton was sentenced to pay criminal restitution of more than $1.6 million and prohibited

from participating in all federal health care programs for 20 years. Dr. Hamilton was further

ordered to divest himself of all ownership in Centennial.

                       IV.      Operation Issues Discovered Upon Acquisition

       Upon the Debtor’s acquisition of Centennial, it discovered a number of operational

problems that were causing instability and unpredictability in the practice. The following

problems have been identified as arising from the acquisition and resulting in the Debtor’s

Chapter 11 filing:

       A.      Administrative Costs.

       Centennial did not adhere to standard medical practice administrative cost benchmarks.

The administrative overhead was unmanaged and therefore financial statements did not reveal

the true financial health of the company.

       B.      IT Infrastructure.

       Upon acquisition, Capstone experienced major problems with the stability of the IT

infrastructure it acquired. The Debtor was assured by Centennial that all IT issues had been

resolved. This was not the case. The Debtor was unexpectedly required to purchase licenses,

software, and new servers. In addition, the Debtor had to restructure the layout of its IT

infrastructure to permit multi-site functionality.

       C.      Health Benefit Plan.

       The Debtor believed it acquired Centennial and a stable workforce. However, Centennial

suffered from attrition and an inability to recruit proper talent. One reason is because Centennial



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offered three expensive benefit packages and an employer participation of 50% of the premium

for employee only. Although couched as a “benefit,” fewer than 30% of the staff participated

because it was simply not affordable. This made it difficult for the Debtor to retain and recruit

quality employees. The Debtor implemented a more costly, but more employee-friendly, benefit

plan. This is a long-term play, the benefits of which are being, and will continue to be, recouped

over time. These benefits are difficult to quantify on a financial statement; instead, the benefits

are revealed by analyzing the Debtor from a quality-of-care standpoint.

       D.      Compliance Plan.

       Centennial did not have an adequate compliance plan in place for the practice. The

Debtor was forced to contract with a company known as MedSafe to provide regulatory

compliance services that include OSHA, HIPAA/HITECH, OIG/CMS Fraud Waste and Abuse,

and Corporate Compliance. MedSafe provided on-site practice assessments with

recommendations; documentation development including online reference guides, policies, and

plans; comprehensive online staff training; and ongoing program maintenance.

       E.      Staff Training and Human Resources.

       Upon acquisition, the Debtor learned that Centennial staff had never received formal or

informal training on the various aspects of the practice. The Debtor had to create and implement

a training program for virtually all employees. In addition, from an human resources standpoint,

the Debtor had to incur the costs of creating job descriptions and employment agreements

because Centennial had failed to accomplish this prior to acquisition.




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                                                       Respectfully Submitted,


                                                       /s/ Griffin S. Dunham
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                                   CERTIFICATE OF SERVICE

        On December 21, 2015, the foregoing was served via CM/ECF on all parties consenting

to electronic service in this case, and by regular mail, fax, or email (as applicable) to (i) the

Debtor’s twenty largest creditors, (ii) the Office of the United States Trustee, and (iii) all secured

creditors.



                                                       /s/ Griffin S. Dunham
                                                       Griffin S. Dunham




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